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                         EXHIBIT C

                    Lowenthal Certification
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          :
                                                          :
    In re                                                 : Chapter 11
                                                          :
    FTX TRADING LTD., et al., 1                           : Case No. 22-11068 (JTD)
                                                          : (Jointly Administered)
                                    Debtors.              :
                                                          :
                                                          :
                                                          :

                         CERTIFICATION OF DANIEL A. LOWENTHAL

            I, DANIEL A. LOWENTHAL, pursuant to 28 U.S.C. § 1746, to the best of my

knowledge and belief, and after reasonable inquiry, hereby certify that:

            1.     I am a partner at Patterson Belknap Webb & Tyler LLP (“Patterson Belknap” or

the “Firm”), and I am fully authorized to make this certification on behalf of Patterson Belknap.

            2.     This certification is made in support of the Fourth Monthly Fee Statement of

Patterson Belknap Webb & Tyler LLP as Counsel to the Examiner for Compensation for

Professional Services Rendered and Reimbursement of Expenses Incurred During the Period

from August 1, 2024 Through and Including August 31, 2024 (the “Monthly Fee Statement”) and

in compliance with rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure for the

United States Bankruptcy Court for the District of Delaware (“Rule 2016-2”).




1
          The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
and 4063, respectively. Due to the large number of Debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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       3.     I have read the Monthly Fee Statement, and I certify that the Monthly Fee

Statement substantially complies with Rule 2016-2.




Dated: September 30, 2024

                                                          /s/Daniel A. Lowenthal

                                                          Daniel A. Lowenthal




                                              2
